Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 1 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 2 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 3 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 4 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 5 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 6 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 7 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 8 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 9 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 10 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 11 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 12 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 13 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 14 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 15 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 16 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 17 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 18 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 19 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 20 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 21 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 22 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 23 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 24 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 25 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 26 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 27 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 28 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 29 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 30 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 31 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 32 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 33 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 34 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 35 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 36 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 37 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 38 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 39 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 40 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 41 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 42 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 43 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 44 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 45 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 46 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 47 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 48 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 49 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 50 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 51 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 52 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 53 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 54 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 55 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 56 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 57 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 58 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 59 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 60 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 61 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 62 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 63 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 64 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 65 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 66 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 67 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 68 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 69 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 70 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 71 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 72 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 73 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 74 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 75 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 76 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 77 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 78 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 79 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 80 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 81 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 82 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 83 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 84 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 85 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 86 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 87 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 88 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 89 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 90 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 91 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 92 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 93 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 94 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 95 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 96 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 97 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 98 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 99 of 137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 100 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 101 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 102 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 103 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 104 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 105 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 106 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 107 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 108 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 109 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 110 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 111 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 112 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 113 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 114 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 115 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 116 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 117 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 118 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 119 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 120 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 121 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 122 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 123 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 124 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 125 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 126 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 127 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 128 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 129 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 130 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 131 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 132 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 133 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 134 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 135 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 136 of
                                        137
Case 18-13027-t11   Doc 368   Filed 05/26/20   Entered 05/26/20 13:27:58 Page 137 of
                                        137
